USCA Case #21-7018           Document #1892487                Filed: 03/31/2021     Page 1 of 1



                        UNITED STATES COURT OF APPEALS
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT

DANA BERNHARDT et al.,                               )
                                                     )
Plaintiffs-Appellants,                               )
                                                     )
v.                                                   )                Case No. 21-7018
                                                     )
ISLAMIC REPUBLIC OF IRAN et al.,                     )
                                                     )
Defendants-Appellees.                                )

      STATEMENT REGARDING UTILIZATION OF A DEFERRED APPENDIX

       Pursuant to this Court’s Order filed March 1, 2021 [1530091], Rule 30(c) of the Federal

Rules of Appellate Procedure, and after conferring with opposing counsel, Plaintiffs-Appellants

Dana Bernhardt et al. do not intend to utilize a deferred appendix.



Respectfully submitted,

     __/s/ Kevin A. Hoffman_________________
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